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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

Case No. 2:18-cev-5175-CDJ
JOSEPH EDWARD RIAD
Hon. C. Darnell Jones, II
Plaintiff,

Mi
DR. ING. H.C.F. PORSCHE
AKTIENGELLSCHAFT, and PORSCHE
CARS NORTH AMERICA, INC.

Defendants.

 

 

ORDER
AND NOW, this 31st day of _ March , 2022, upon consideration of
Defendant Porsche AG’s Unopposed Motion for Leave to Withdraw William F. Kiniry, Jr. as
Counsel of Record (the “Motion’”), it is HEREBY ORDERED that the Motion is GRANTED
and William F. Kiniry, Jr. SHALL be deemed withdrawn as counsel of record for Defendant

Porsche AG.

BY THE COURT:

/s/ C. Darnell Jones, II

Hon. C. Darnell Jones II
U.S. District Judge

 
